              IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        Civil No: 1:19-cv-488


ANGELA M. BECK,                      )
                                     )
                 Plaintiff,          )
                                     )
v.                                   )
                                     )
HUGH J. HURWITZ, Acting              )
Director of the Federal Bureau of    )
Prisons of the United States of      )
America, in his official and         )
individual capacity; J.A. KELLER, ) STIPULATION OF VOLUNTARY
Southeast Regional Director of the )    DISMISSAL WITHOUT
Federal Bureau of Prisons, in his    )      PREJUDICE
official and individual capacity;    )
PATRICIA V. BRADLEY,                 )
Warden of the Federal                )
Correctional Institute, Aliceville,  )
Alabama, in her official and         )
individual capacity; JOHN DOE        )
and JANE DOE, unidentified           )
present and former officers, agents, )
and/or employees of the Federal      )
Correctional Institute, Aliceville,  )
Alabama; and SEVEN CORNERS, )
INC.,                                )
                                     )
                 Defendants.         )

          __________________________________________________


      Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, plaintiff

and all defendants, by and through their undersigned legal counsel, stipulate to the




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voluntary dismissal without prejudice of this action. The parties shall bear their own

costs and attorneys’ fees.

Dated: July 25, 2019

STIPULATED TO BY:

/s/ Robert M. Elliot                          /s/ Joan B. Childs
Robert M. Elliot (7709)                        Joan B. Childs (18100)
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                                              Keller and Bradley in their official
                                              capacities and individual capacities


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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 25, 2019, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of

such filing to all counsel of record.




                                        /s/Robert M. Elliot
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